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                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT
                               _______________________

                                        No. 23-1839
                                  _______________________

                             UNITED STATES OF AMERICA,
                                      Appellee,
                                              V.

                                      IAN FREEMAN,
                                      f/k/a Ian Bernard,
                                    Defendant-Appellant.
                                  _______________________

                GOVERNMENT’S MOTION FOR EXTENSION OF TIME
                         TO FILE RESPONSE BRIEF
                               (Assented To)

            The United States respectfully moves this Court to enter an order

      extending the due date for its response brief by an additional 31 days, to

      Monday, September 30, 2024. 1 In support of this motion, the government states

      the following:

            1.      Defendant Ian Freeman appeals the final judgment in this criminal

      case. After an 11-day trial, Freeman was convicted of conspiracy to operate an

      unlicensed money-transmitting business, in violation of 18 U.S.C. § 371;

      operating an unlicensed money-transmitting business, in violation of 18 U.S.C.




            1
                A 30-day extension would result in a Sunday filing deadline.
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      § 1960(a), (b)(1)(B), and (C); money-laundering conspiracy, in violation of 18

      U.S.C. § 1956(h); and four tax-evasion counts, in violation of 26 U.S.C. § 7201.

      The district court sentenced him to 96 months. On appeal, Freeman contends

      that his conduct in selling Bitcoin is not subject to prosecution under 18 U.S.C.

      § 1960. He further contends that the trial evidence failed to prove tax evasion

      and that he was entitled to a new trial on all counts due to spillover prejudice

      from an acquitted money laundering count. Finally, Freeman asserts that his

      sentence is substantively unreasonable.

            2.     Freeman’s opening brief was originally due March 4, 2024. With

      the government’s assent, Freeman obtained four extensions of this deadline and

      filed his opening brief on July 31, 2024.

            3.     The government’s response brief is presently due August 30, 2024.

      Given the large record and number of issues presented, undersigned counsel

      needs additional time to research Freeman’s claims, consult with the Assistant

      U.S. Attorneys who handled the proceedings before the district court, and draft

      the government’s brief.

            4.     Counsel for Freeman (Richard Guerriero) assented to the

      government’s requested relief.

            5.     The Court has not scheduled this case for oral argument.
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            Because this motion is made in good faith and not for purposes of delay,

      the government respectfully requests that the Court grant the motion and extend

      its briefing deadline to Monday, September 30, 2024.



      Respectfully submitted,

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       District of New Hampshire                    Attorney General

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                              CERTIFICATE OF SERVICE

            I hereby certify that on August 14, 2024, I electronically filed this motion

      with the Clerk of the Court for the United States Court of Appeals for the First

      Circuit by using the appellate CM/ECF system and sent via transmission of

      Notice of Electronic Filing generated by CM/ECF system to counsel of record.




                                           /s/David M. Lieberman
